•                CASE 0:20-cv-01748-DSD-HB Doc. 1 Filed 08/11/20 Page 1 of 5

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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


                                                 Plaintiff(s),                     20-cv-1748 DSD/HB
    vs.                                                                   Case No. -----
                                                                          (To be assigned by Clerk of District
                                                                          Court)



                                                                                          ✓
                                                                          DEMAND FOR JURY
                                                                          TRIAL
                                                                                  YES            NO
                                                 Defendant(s).
    .(Enter the full name(s) of ALL plaintiffs
     and defendants in this lawsuit. Please
     attach additional sheets if necessary.)

                                                  COMPLAINT

      PARTIES

      1. List your name, address and telephone number. Do the same for any additional plaintiffs.

          a Plaintiff

              Name

              Street Address

              County, City

              State & Zip Code

              Telephone Number




                                                                                      t
      2. List all defendants. You should state the full name of the defendant, even if that defendant is
         a government agency, an organization, a corporation, or an individual. Include the address
         where each defendant may be served. Make sure that the defendant(s) listed below are

                                                                                             SC' '.e••i�'di$ 'J,�:li\J� 1,;;;, 0' ·;,,----
                                                                                                                                        _
         identical to those contained in the above caption.
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          CASE 0:20-cv-01748-DSD-HB Doc. 1 Filed 08/11/20 Page 2 of 5




   a.   Defendant No. I

        Name

        Street Address         Q nq-v 6Qvi
        County, City

        Stale   & Zip Code

        Defendant No. 2

        Name

        Street Address

        County, City

        State   & Zip   Code

   c.   DefendantNo.3

        Name

        Street Address

        County, City

        State   & Zip Code


NOTE: IF TIIERE ARE ADDITIONAL PLAINTIFFS OR DEFEIIDAI\TS' PLEASE
PROVIDE TIMIR NAMES AND ADDRESSES ON A SEPARATE SHEET OF PAPER
Check here if additional sheets of paper are attached: tr
Please label the attached sheets of paper to correspond to the appropriate numbered
paragraph above (e.9, Additional Defendants 2.d.,2.e., etc.)




ruRISDICTION

Federal courts are courts of limited jurisdiction. Generally, two types of cases can be heard in
federal courl cases involving a federal question and cases involving diversity of citizenship of
               CASE 0:20-cv-01748-DSD-HB Doc. 1 Filed 08/11/20 Page 3 of 5




the parties. Under 28 U.S.C. $ 1331, a case involving the United States Constitution or federal
Iaws or treaties is a federal question case. Under 28 U.S.C. $ 1332, a ctre in which a citizen of
one state sues a citizen of another state and the amount of damages is more than $75,000 is a
diversity of citizenship case.

3.   What is the basis for federal court jr:risdiction? (check all tlnt apply)

          #"a"raQuestion                  tr   Diversity of Citizenship

4.   If the basis for jurisdiction is Federal Question" which Federal Constitutional, statutory or
     treaty right is at issue? List all that apply.

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5. If the basis forjurisdiction is Diversity of Citizenship, what is the state of citizenship of each
     party? Each Plaintiffmust be diverse from each Defendant for diversity jurisdiction.

     PlaintiffNarne:                                        State of Citizenship:


     Defendant No. 1:                                       State of Citizenship:

     Defendant No. 2:                                       State of Citizenship:


     Attach additional sheets of paper as necessary and label this information as paragraph
     t.
     Check here if additional sheets of paper are attached.

     What is the basis for venue in the District of Minnesota? (check all that apply)

          {aefendant(s)    reside in   Minnesota ffFactsalleged below primarily occuned in
                                                          Minnesota
          fl   Other: explain




STATEMENT OF TIIE CLAIM

Describe in the space provided below the basic facts of your claim. The description of facts
should include a specific explanation of how, where, and when each of the defendants named in
the caption viohtJd the laq and how you were harmed. Each paragraph must be numbered
separately, beginning with number 7. Please write each single set of circumstances in a
separately numbered     paragraph.                    r  i

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   CASE 0:20-cv-01748-DSD-HB Doc. 1 Filed 08/11/20 Page 4 of 5


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             CASE 0:20-cv-01748-DSD-HB Doc. 1 Filed 08/11/20 Page 5 of 5




Attach additional sheets of paper as necessary.
Check here if additional sheets of paper are attached: tr
Please label the attached sheets of paper to as Additional Facts and continue to number the
paragraphs consecutively.


REQUEST FOR RELIEF

State what you want the Court to do for you and the amount of monetary compensation,   if any,
you are seeking.




Date:




                       Signanre of Plai

                       Mailing Address




                       rerephoneNumber          b*t{ . LVol
Note: All plaintifls named in the caption of the complaint must date and sign the complaint and
provide his/her mailing address and telephone number. Attach additional sheets of paper as
necessary.
